   Case: 3:16-cr-00135-WHR Doc #: 35 Filed: 11/09/16 Page: 1 of 3 PAGEID #: 127




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                           :
              Plaintiff,                       Case No. 3:16CR00135

       -vs-                                :   District Judge Walter Herbert Rice
                                               Chief Magistrate Judge Sharon L. Ovington
ANDREW AZZALINA,                           :

              Defendant.                   :


                                  DETENTION ORDER


       This case came on for hearing on November 4, 2016, on Motion of the United

States for pretrial detention. Defendant is in State custody and is not scheduled to be

released from incarceration until February 26, 2017.

       Under § 3142(e), a defendant shall be detained pending trial if, after a hearing, the

judicial officer finds that no condition or set of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the

community. The factors to be considered in determining whether to release a defendant

pending trial are set forth in 18 U.S.C. § 3142(g) and include: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence against the person;

(3) the history and characteristics of the person; and (4) the nature and seriousness of the

danger to any person or the community that would be posed by the defendant's release.

       In considering the history and characteristics of the person, the judicial officer
   Case: 3:16-cr-00135-WHR Doc #: 35 Filed: 11/09/16 Page: 2 of 3 PAGEID #: 128




should consider the person's character, physical and mental condition, family ties,

employment, financial resources, length of residence in the community, community ties,

past conduct, history relating to drug or alcohol abuse, criminal history, and record

concerning appearance at court proceedings; and whether, at the time of the current

offense or arrest, the person was on probation, on parole, or on other release pending trial,

sentencing, appeal, or completion of sentence for an offense under Federal, State, or local

law.

       Based upon the evidence presented and for the reasons stated on the record in

open court, the Court finds by clear and convincing evidence that no condition or

combination of conditions set forth in 18 U.S.C. §3142 (c) will reasonably assure the

appearance of the Defendant as required and the safety of the community.

       Accordingly, it is hereby ORDERED that:

1) the Defendant be committed to the custody of the Attorney General of the United

States for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal;

2) the Defendant be afforded reasonable opportunity for private consultation with

counsel;

3) on order of a court of the United States or on request of an attorney for the United

States, the person in charge of the facility in which the Defendant is confined deliver the

Defendant to a United States Marshal or his deputy for the purpose of an appearance in

connection with a court proceeding; and,

4) in the event that Defendant seeks to appeal to the District Judge from this order,
   Case: 3:16-cr-00135-WHR Doc #: 35 Filed: 11/09/16 Page: 3 of 3 PAGEID #: 129




counsel must request a transcript of the detention hearing from the court reporter at the

same time the appeal is filed.



November 8, 2016                                        s/ Sharon L. Ovington
                                                           Sharon L. Ovington
                                                   Chief United States Magistrate Judge
